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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION

AIRLOUIE LLC,

          Plaintiff,

v.                                                   Case No. 8:09-cv-1933-T-30EAJ

HAWKER BEECHCRAFT SERVICES, INC.,

      Defendant.
_____________________________________/

                                         ORDER OF DISMISSAL

          The Court has been advised via a Notice of Settlement in Principle and Unopposed
Request for 60-Day Stay (Dkt. #29) that the above-styled action has been settled.
Accordingly, pursuant to Local Rule 3.08(b) of the M.D.Fla., it is
          ORDERED and ADJUDGED that this cause is hereby DISMISSED without
prejudice subject to the right of any party to re-open the action within sixty (60) days of the
date of this order, to submit a stipulated form of final order or judgment should they so
choose or for any party to move to reopen the action, upon good cause shown. After that 60-
day period, however, dismissal shall be with prejudice. All pending motions, if any, are
DENIED as moot. The Clerk is directed to close the file.

          DONE and ORDERED in Tampa, Florida on August 3, 2010.



Copies furnished to:
Counsel/Parties of Record
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